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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                          MIAMI DIVISION

                                 CASE NO.: 1:20-cv-22133-JEM

  RYAN MAUNES MAGLANA, on
  his own behalf and as a class
  representative of all other similarly
  situated    Filipino    crewmembers
  trapped aboard CELEBRITY cruise
  vessels,

         Plaintiffs,
                                                               CLASS ACTION &
  v                                                              DEMAND FOR
                                                                 JURY TRIAL
  CELEBRITY CRUISES INC.,

        Defendant.
  ______________________________/

      PLAINTIFFS’ NOTICE OF COMPLIANCE WITH D.E. 12 AND RESPONSE IN
       OPPOSITION TO DEFENDANT’S SUGGESTION OF MOOTNESS [D.E. 10]

         Plaintiff, RYAN MAUNES MAGLANA, on his own behalf and on behalf of all

  other similarly situated Filipino crewmembers trapped onboard CELEBRITY cruise

  vessels (hereinafter “PLAINTIFFS”) through undersigned counsel hereby file their

  Notice of Compliance with D.E. 12 & their Response in Opposition to Defendant’s

  “Suggestion of Mootness” [D.E. 10] and offer the following in support of their position:

         1.     Plaintiff MAGLANA, on his own behalf and as a class representative of all

  other similarly situated Filipino crewmembers trapped aboard CELEBRITY cruise

  vessels, filed the instant action of May 21, 2020.

         2.     Count I of their Complaint includes a prayer for injunctive and equitable
                                             º 1 º
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  relief, to wit:

               a. A       mandatory   injunction   requiring    Defendant     to   repatriate    its

                    approximately 1700 FILIPINO seafarers; and

               b. Back/Front pay and all other equitable relief which Plaintiffs are entitled

                    to.

          3.        To date, some Filipino seafarers in Defendant’s fleet have been repatriated.

  However, over 70% were still held captive onboard ships in Defendant’s fleet at the time

  Defendant filed its Suggestion of Mootness, and as of the time the instant response is

  submitted to the Court, there are still over 1000 Filipino seafarers and class members that

  are being held against their will by Defendant.

          4.        By way of background, after the instant action was filed on May 21, 2020,

  the Miami Herald reported on the Plaintiffs’ claims in an article which appeared on May

  22, 2020. As indicated in the Herald’s article, Defendant was contacted for comment on

  the lawsuit by the time the story was published on the 22nd, but the company declined to

  comment.

          5.        Also, on the 22nd, the Defendant contacted the undersigned’s former

  employer to discuss the claims asserted herein but they were advised that the

  undersigned and the former employer were no longer professionally affiliated.

          6.        The following day, on May 23rd, the undersigned was in direct contact with

  the Defendant’s inhouse attorneys upon whom process was served per Fed. R. Civ. P. 4.

  See D.E. 14.

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           7.     Defendant also purchased Plaintiff MAGLANA’S ticket home on May 23,

  nearly 48 hours after the instant action was filed which is attached and marked as Exhibit

  “A”.

           8.     It is undisputed that Plaintiff MAGLANA was repatriated to the

  Philippines on May 26, 2020, on a ticket that was issued on May 23rd. According to the

  US Center for Disease Control and Prevention (hereinafter “CDC”), Celebrity did not

  submit their CDC attestation form until May 22nd, after the instant action had

  commenced. Approved CDC cruise ship crewmember disembarkations is attached and

  marked as Plaintiffs’ Exhibit “B”.

           9.     As it stands currently, that is the only matter from Defendant’s Suggestion

  of Mootness that is not in dispute.

           10.    According to a leaked internal memorandum that was published in early

  May, RCL International, the parent corporation of both Royal Caribbean Cruise Lines and

  Celebrity Cruise Lines, had more than 6,689 Filipino seafarers waiting to be repatriated

  as of May 7, 2020. See Exhibit “C” at p. 19

           11.    Celebrity did not repatriate a single Filipino crewmember after the CDC’s

  March 14th, 2020 No-Sail Order for over 68 days as evident in the CDC’s publication in

  Exhibit “B”.

           12.    In fact, Celebrity failed to repatriate a single Filipino seafarer until May 20th,

  2020. Id.




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         13.    The CDC approved crewmember repatriation through US ports on April

  23, 2020, and yet for 27 days, Celebrity declined to follow the procedures and instead,

  elected to shift blame to the CDC for “preventing” repatriation.

         14.    At the time the instant action was filed, 1528 of the approximately 1700

  Filipino crewmembers were still onboard the ships in Celebrity’s fleet with no end to their

  forced captivity in sight.

         15.    What Defendant apparently contends is a random coincidence, the day

  after this action was commenced and the local media reported on the story, Celebrity

  repatriated an additional 320 Filipino crewmembers by pure happenstance.

         16.    Even assuming arguendo that Defendant’s claim that “wholly independent

  of this action”, Defendant requested clearance from the CDC to repatriate an additional

  320 Filipino seafarers within 24 hours of the commencement of this action, almost double

  the amount that had been requested prior to the commencement of this action.

         17.    Plaintiff, apparently by virtue of a mere coincidence, just so happened to be

  among the 320 Filipino seafarers repatriated to the Philippines “wholly independent of this

  action”.

         18.    Defendant filed its Suggestion of Mootness at May 27, 2020. At that time,

  there were still at least 1200 Filipino seafarers waiting to be repatriated, or over 70% of

  the Filipino seafarers in Celebrity’s fleet.

         19.    Defendant repatriated an additional 194 Filipino seafarers on June 1st, 2020

  leaving a balance of just over 1000 Filipino seafarers still held captive onboard ships in

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  its fleet.

          20.    Plaintiffs respectfully submit that this controversy is far from moot as the

  fate of over 1000 souls remain in limbo while being held captive onboard Defendant’s

  vessels.

          21.    In addition, Plaintiffs’ prayer for back pay continues to remain in

  controversy as the Defendant has not paid any of its Filipino seafarers wages since April

  24, 2020 other than a $400 bonus paid to some crewmembers as a “good-will gesture”

  which translates to a per diem of just over $13.

          22.    Accordingly, for the above stated reasons, Plaintiffs submit that this matter

  is not moot and is ripe for adjudication by this Court.

          23.    Defendant’s voluntary cessation of its unlawful conduct does not render

  the controversy moot. Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S.

  167, 189, 120 S. Ct. 693, 708 (2000).

          24.    Furthermore, the claims asserted herein are not arbitrable. See Wright v.

  Universal Mar. Serv. Corp., 525 U.S. 70, 78, 119 S. Ct. 391, 396 (1998).

          25.    In addition, Plaintiffs’ other claims that stem from U.S. statutory law insofar

  as their claim for wages under 46 U.S.C. Section 10313 “[w]here the parties have agreed

  that the arbitral body is to decide a defined set of claims which includes [ ] those arising

  from the application of American [ ] law, the tribunal therefore should be bound to decide

  that dispute in accord with the national law giving rise to the claim. And so long as the

  prospective litigant effectively may vindicate its statutory cause of action in the arbitral

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  forum, the statute will continue to serve both its remedial and deterrent function.

  Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, 473 U.S. 614, 636-37, 105 S. Ct. 3346,

  3359 (1985); see also Am. Express Co. v. Italian Colors Rest., 570 U.S. 228, 236, 133 S. Ct. 2304,

  2310 (2013) ([a]s we have described, [the effective vindication doctrine’s origins stem from] the

  desire to    prevent   ‘prospective     waiver    of    a    party’s right   to   pursue statutory

  remedies,’ [t]hat would certainly cover a provision in an arbitration agreement

  forbidding the assertion of certain statutory rights.”

  Dated:         8th day of June 2020.

                                                         BY:   ________________________
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                                     CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing was filed and

  e-served on Defendant through the Court’s CM/ECF system on June 8, 2020.



                                                         BY:   ________________________
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